Case 2:02-cv-02949-.]PI\/| Document 55 Filed 07/07/05 Page 1 of 3 `Page|D 86

F|LED BV _,__________ D,¢;,
rN THE uNITEn sTATEs nrsTchT couRT
FoR THE wEsTERN DIsTchT oF TENNESSEE 05 JUL -'I PH 3= bg
WESTERN DrvIsIoN

 

t RDWBMXIUD

CEHKUS§@FKHCUJH

cLEoPHUs TRIBBLE, WDGFM¢&MH$
Piaintiff,

V.

No. 02-2949 Ml/v

MEMPHIS chY scHooLs,

Defendant.

Vv\'vvvvvvv

 

ORDER DENYING PLAINTIFF'S RULE 59 MOTION TO OPEN AND/OR AMEND
JUDGMENT

 

Before the Court is Plaintiff’s Rule 59 Motion to Open
and/or Amend Judgment, filed May 31, 2005. Defendant did not
file a response to Plaintiff's motion. For the following
reasons, Plaintiff’s motion is DENIED.

On May 19, 2005, the Court granted Defendant’s motion for
summary judgment and dismissed all of Plaintiff's claims in this
case. (See Order Granting Def.’s Amended Mot. for Summ. J.
(Docket No. 52).) Plaintiff moves to open the Court's judgment
pursuant to Federal Rule of Civil Procedure 59. Rule 59 allows a
party to move for a new trial and to open the Court's judgment
“for any of the reasons for which new trials have heretofore been
granted in actions at law in the courts of the United States

.” Fed. R. Civ. P. 59. The authority to grant a new trial

under Rule 59 rests within the discretion of the trial court.

Th1s document entered on the docket sheet ln co ptlenca
with Ftule 58 and/or 79 (a) FRCP en '

Case 2:02-cv-02949-.]PI\/| Document 55 Filed 07/07/05 Page 2 of 3 Page|D 87

Allied Chemical CorD. v. Daiflon, Inc., 449 U.S. 33, 36 (1980);
Montgomerv Ward & Co. v. Duncan, 311 U.S. 243, 251 (1940).

Plaintiff contends that the Court erred in granting
Defendant’s motion for summary judgment because genuine issues of
material fact assertedly exist regarding whether Plaintiff could
establish a prima facie case of race discrimination and whether
Defendant established the existence of a legitimate non-
discriminatory reason for Plaintiff's discharge. Having reviewed
the record and the parties' submissions, however, the Court finds
that no basis exists for opening the Court's judgment and
ordering a new trial pursuant to Rule 59. Accordingly,

Plaintiff’s motion is DENIED.

SO ORDERED this '( day of July, 2005.

Qm(\@l

P. MCCALLA
U ITED STATES DISTRICT JUDGE`.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:02-CV-02949 Was distributed by fax, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Cleophus Tribble
5403 Autumn Brook Drive
1\/1emphis7 TN 38141

Michael R. Marshall

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Peggy J. Lee

LEE LAW FIRM
147 Jefferson

Ste. 406

1\/1emphis7 TN 38103

Ernest G. Kelly

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Prince C. Chambliss

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/1emphis7 TN 38120

Honorable J on McCalla
US DISTRICT COURT

